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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION

UNITED STATES OF AMERICA,

              Plaintiff,
                                                        CASE NO. 1:96-CR-84
v.
                                                        HON. ROBERT HOLMES BELL
DAVID JENNINGS,

              Defendant.
                                  /

                      MEMORANDUM OPINION AND ORDER

       This matter is before the Court on Defendant’s Motion for Modification or

Reduction of Sentence Pursuant to 18 U.S.C. §3582(c)(2) (docket #614). Based on a

review of Defendant’s motion, the Sentence Modification Report, submission by defense

counsel, and the original criminal file, the Court has determined that the motion should be

adjudicated as follows:

       Defendant was sentenced on Count 1 of a Second Superseding Indictment

charging Conspiracy to Distribute and Possession with Intent to Distribute Cocaine,

Cocaine Base (Crack Cocaine) and Marijuana in violation of 21U.S.C. §§846 and

841(a)(1). Defendant was sentenced as a career offender within the meaning of U.S.S.G.

§ 4B1.1(a).

       The base offense level used to calculate Defendant’s original sentence was

lowered by Amendment 706 to the United States Sentencing Guidelines. Amendment
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706, however, has no effect on a sentencing range imposed under the career offender

guidelines in § 4B1.1. United States v. Perdue, 572 F.3d 288, 291-92 (6th Cir. 2009).

Defendant’s career offender guideline range with a three level reduction for substantial

assistance is 188 months. Because the career offender guideline range is greater than the

recalculated drug guidelines sentence, the career guidelines range governs his sentence.

U.S.S.G § 4B1.1(b) (“[I]f the offense level for a career offender from the table in this

subsection is greater than the offense level otherwise applicable, the offense level from

the table in this subsection shall apply.”)

       Defendant’s Motion for Modification or Reduction of Sentence (docket #614) is

GRANTED and defendant’s sentence is amended from 210 months to 188 months.




Dated: August 10, 2010                        /s/ Robert Holmes Bell
                                              ROBERT HOLMES BELL
                                              UNITED STATES DISTRICT JUDGE
